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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WISCONSIN


U.S. WATER SERVICES, INC. and ROY
JOHNSON,

              Plaintiffs,

     v.                                   No. 3:13-cv-00864-jdp

NOVOZYMES A/S and NOVOZYMES
NORTH AMERICA, INC.,

              Defendants.


    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
    PERMANENT INJUNCTIVE RELIEF AND AN ENHANCED ROYALTY ON
           NOVOZYMES’S WILLFUL POST-JUDGMENT SALES
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                                            INTRODUCTION

         As a result of its research and substantial financial investment, U.S. Water1 pioneered a

new solution to the long-standing problem of fouling in fuel ethanol plants: the use of phytase to

reduce the formation of such deposits. It protected its inventions by obtaining patents. And

through this investment of time and money, it built a market for that solution in the skeptical fuel

ethanol industry, largely by providing free plant trials to prove its novel invention worked.

         Riding U.S. Water’s coattails, Novozymes plainly infringed U.S. Water’s valid patents,

as the jury in this case found in two hours. ECF No. 800 at 1–10. Through this infringement,

Novozymes reaped significant benefits by under-cutting the price of pHytOUT, not just to

“snatch” those sales, but to sell its Cadillac product, Avantec, a product that cannot be used

without a phytase product. See ECF No. 171-5 at 19; ECF No. 227, ¶ 154. Even worse,

Novozymes’s conduct disrupted the “value bubble” created by U.S. Water as the sole supplier of

its patented technology. ECF No. 818 at 66–70. Novozymes’s infringement has eroded U.S.

Water’s reputation as the innovator of its patented technology. And, only as a result of

Novozymes’s infringement, U.S. Water must now directly compete with Novozymes in the

market for the use of phytase to reduce phytic acid deposits in fuel ethanol plants. ECF No. 536

at 12.

         Moreover, this infringing competition continues after a jury finding of infringement and

validity. Notably, Novozymes both continues to disparage U.S. Water’s reputation as an

innovator and advertises the ongoing availability of Phytaflow. A November 7, 2017, article in

Ethanol Producer Magazine quoted Federik Bjoerndal of Novozymes:

         Novozymes is disappointed in the jury’s ruling and we intend to appeal.
         Novozymes first described the use of phytase in fermentation in a patent

1
 “U.S. Water” as used herein shall refer collectively to U.S. Water Services, Inc. and Roy Johnson. “Novozymes”
as used herein shall refer collectively to Novozymes A/S and Novozymes North America.
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       application filed in 2000, seven years prior to U.S. Water. We are confident that
       the use of Phytaflow does not infringe any valid patent, and Phytaflow and our
       phytase-blended products will remain available while the litigation continues.

Declaration of Michelle M. Umberger in Support of Plaintiffs’ Motion for Permanent Injunctive

Relief and an Enhanced Royalty on Novozymes’s Willful Post-Judgment Sales (hereinafter

“Umberger Decl.”) Ex. 1 (Lisa Gibson, Jury Rules in Favor of U.S. Water in Patent

Infringement Suit, Ethanol Producer Magazine (Nov. 7, 2017),

http://ethanolproducer.com/articles/14790/jury-rules-in-favor-of-u-s-water-in-patent-

infringement-suit).

       As Novozymes’s attitude toward U.S. Water’s patents prior to filing suit, throughout this

litigation, and today demonstrates, Novozymes has no regard for U.S. Water’s intellectual

property. Novozymes continues to disparage U.S. Water’s invention and is now willfully

infringing these patents. All of these actions have irreparably harmed U.S. Water and left it with

no adequate remedy at law. Accordingly, U.S. Water now respectfully requests that the Court

enter a permanent injunction prohibiting Novozymes from selling or offering for sale any

phytase-containing products to or for use in reducing deposits in fuel ethanol plants.

       Failure to enter an injunction would result in a severe hardship to U.S. Water, while a

permanent injunction would not unfairly harm Novozymes—a sizable player in the market with

an entire portfolio of products not at issue in the current motion. See ECF No. 210 at 3, 69–70.

Further, an injunction would serve the public interest in a strong patent system without any

collateral negative effect on the public. See infra Part I.

       In addition, U.S. Water asks the Court to set a post-judgment royalty rate. Based on

Novozymes’s past infringement, the jury awarded U.S. Water $7,582,966 in damages, a

conclusion reflecting a reasonable royalty for Novozymes’s infringing use of $5.05 per pound of

Phytaflow®. See ECF No. 812 at 1. Courts typically set an ongoing royalty rate that is higher

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than the royalty rate found by the jury—up to three times higher—to compensate for an adjudged

infringer’s ongoing, willful infringement. This case should be no different, and U.S. Water

requests that the Court set a royalty rate of $10.00 per pound of phytase-containing products sold

by Novozymes after the judgment was entered. This enhanced rate should apply to all post-

judgment sales through the entry of an injunction, or, should the Court not issue an injunction, to

all post-judgment sales for the life of the patents in suit. See infra Part II.

                                            ARGUMENT

I.      A PERMANENT INJUNCTION IS WARRANTED.

        Following trial, the jury delivered a unanimous verdict that Novozymes induces and

contributes to its customers’ direct infringement of U.S. Water’s asserted patents (Nos.

8,415,137 (“the ’137 patent”) and 8,609,399 (“the ’399 patent”)) through Novozymes’s sales of

its phytase products. ECF No. 800 at 1–12. The jury further found that each of the asserted

claims in U.S. Water’s patents is valid. Id.

        Since the jury’s verdict, Novozymes has not changed its behavior one iota. Indeed, it has

publicly stated that it will not do so. See Umberger Decl. Ex. 1. But “business as usual” at this

point is not fair to U.S. Water and an injunction is warranted.

        A.      Permanent Injunctions Are Routinely Granted After a Finding of
                Infringement by a Direct Competitor.

        35 U.S.C. Section 283 authorizes a district court to impose a permanent injunction “in

accordance with the principles of equity to prevent the violation of any right secured by a

patent.” In eBay, Inc. v. MercExchange, L.L.C., 547 U.S. 388, 390 (2006), the Supreme Court

confirmed that the “principles of equity” referenced in § 283 involve the evaluation of four

traditional factors: (1) whether the plaintiff has suffered an irreparable injury; (2) whether

monetary damages are inadequate to compensate for that injury; (3) whether the balance of



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hardships between the parties warrants equitable relief; and (4) whether or not the public interest

would be disserved by a permanent injunction.

       Although eBay eliminated the general rule that an injunction is virtually automatic when

a patent is found to have been valid and infringed,

       it does not swing the pendulum in the opposite direction. In other words, even
       though a successful patent infringement plaintiff can no longer rely on
       presumptions or other short-cuts to support a request for a permanent injunction,
       it does not follow that courts should entirely ignore the fundamental nature of
       patents as property rights granting the owner the right to exclude. Indeed, this
       right has its roots in the Constitution, as the Intellectual Property Clause of the
       Constitution itself refers to inventors’ “exclusive Right to their respective . . .
       Discoveries.” U.S. Const. art. I, § 8, cl. 8 (emphasis added).

Robert Bosch LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1149 (Fed. Cir. 2011) (reversing district

court’s post-verdict denial of permanent injunction). Indeed, permanent injunctions are routinely

granted by district courts post-eBay after a finding of infringement by a direct competitor. See,

e.g., SynQor, Inc., v. Artesyn Techs., Inc., No. 2:07-CV-497, 2011 WL 238645, at *10–11 (E.D.

Tex. Jan. 24, 2011) (“The best case for obtaining a permanent injunction often occurs when the

plaintiff and defendant are competing in the same market.”); Mass Engineered Design, Inc. v.

Ergotron, Inc., 633 F. Supp. 2d 361, 393 (E.D. Tex. 2009) (holding that the “direct

competition . . . weighs heavily in favor of a finding of irreparable injury”); TruePosition Inc. v.

Andrew Corp., 568 F. Supp. 2d 500, 531 (D. Del. 2008) (“Courts awarding permanent

injunctions typically do so under circumstances where plaintiff practices its invention and is a

direct market competitor.”); Smith & Nephew, Inc. v. Synthes (U.S.A.), 466 F. Supp. 2d 978,

982–83 (W.D. Tenn. 2006) (finding irreparable injury when parties were competitors based on

“loss of market share and the resulting lost profits and loss of brand name recognition”). Here,

each of the four eBay factors weighs in favor of an injunction, as detailed below.




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       B.      U.S. Water Will Suffer Irreparable Harm in the Absence of an Injunction.

       Applying the first eBay factor, without a permanent injunction, U.S. Water will continue

to suffer irreparable harm as a result of Novozymes’s infringement. U.S. Water and Novozymes

are direct competitors in the market for the use of phytase to reduce deposits in fuel ethanol

plants, a factor that weighs heavily in favor of finding irreparable harm. Furthermore, U.S.

Water’s reputation as the innovator of this technology continues to be damaged by Novozymes’s

ongoing, now-willful infringement. See Douglas Dynamics, LLC v. Buyers Prods. Co., 76 F.

Supp. 3d 806, 821 (W.D. Wis. 2014), aff’d, 628 F. App’x 767 (Fed. Cir. 2016) (holding that

defendant “knew full well that these units infringed but elected to sell them anyway, rather than

designing a non-infringing alternative,” which makes defendant’s “post-verdict sales willful”).

Relatedly, U.S. Water has never licensed its patents to a competitor and has no interest in doing

so, a choice that further demonstrates that an ongoing royalty would be insufficient to

compensate U.S. Water for Novozymes’s continued infringement.

       Although an injunction provides prospective relief, the first eBay factor “looks, in part, at

what has already occurred.” i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 862 (Fed. Cir.

2010). A finding of irreparable harm can be based upon past “[p]rice erosion, loss of goodwill,

damage to reputation, and loss of business opportunities . . . .” Celsis In Vitro, Inc. v.

CellzDirect, Inc., 664 F.3d 922, 930 (Fed. Cir. 2012). Irreparable harm also commonly occurs

when the parties are competitors. As the Federal Circuit noted,

       The essential attribute of a patent grant is that it provides a right to exclude
       competitors from infringing the patent. 35 U.S.C. § 154(a) (1) (2000). In view of
       that right, infringement may cause a patentee irreparable harm not remediable by
       a reasonable royalty.

Acumed LLC v. Stryker Corp., 551 F.3d 1323, 1328 (Fed. Cir. 2008).




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        Thus, the Federal Circuit regularly finds irreparable harm when a direct competitor

infringes, causing the patentee to suffer lost sales and market share. See, e.g., i4i, 598 F.3d at

861 (i4i was irreparably injured by infringement based on direct competition between parties and

loss of market share); Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 702 F.3d 1351,

1362–64 (Fed. Cir. 2012) (vacating district court’s finding of no irreparable harm where record

showed patentee and infringer were direct competitors in the same market); Robert Bosch, 659

F.3d at 1151 (vacating trial court’s finding of no irreparable harm where parties were direct

competitors); Acumed, 551 F.3d at 1327 (affirming grant of permanent injunction where parties

were competitors).

        As was established in trial, “PHytOUT and Phytaflow are the only standalone phytases.

They’re competing against each other, obviously.” ECF No. 836, Bero Testimony 10-19-2017

P.M. Tr. at 8-P-16:21–23. This competition has harmed U.S. Water. Indeed, even after U.S.

Water significantly lowered its price to compete with Novozymes, Novozymes continued to sell

its infringing product for $5.54 less per pound than U.S. Water. Id. at 8-P-36:9–12. This Court

heard testimony directly from U.S. Water about the harm Novozymes’s infringing sales of

Phytaflow have caused it to suffer. Allan Bly, former President and CEO of U.S. Water, testified

as to U.S. Water’s “value bubble,” and the harm to that “value bubble” caused by Novozymes’s

continued infringement—exactly the type of price erosion, loss of goodwill, damage to

reputation, and loss of business opportunities that weighs heavily in favor an injunction. Mr. Bly

testified that:

           “increased value bubble, means that you’re harder to replace by somebody
            coming in the door. And so really what we found is that when we had the
            pHytOUT business, our accounts were more stable versus our competitors
            trying to come in and take them.”;

           “the pHytOUT and the pHytOUT sales . . . gave us a platform to create value
            to help maintain and protect all of our business base, and, you know, again,


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           with ethanol being such a large portion of U.S. Water’s business at those
           times, it was incredibly important for us.”;

          “conversely, once we started to lose some of that business, it was incredibly
           destructive for us because you would not only lose -- once you pierce that
           value bubble, you lose -- you not only lose the pHytOUT business, but you
           start losing auxiliary business and the water treatment business and all the
           other business that goes along with it because once you’re commoditized,
           everything is commoditized. . . . You can be easily replaced by a like-for-like
           product or a like-for-like service.”;

          “if you are undercut pricewise, it has a significant impact when you’re, you
           know, starting to lose 300,000-dollar pieces of business because you’re being
           undercut.”; and

          “If we’re $16.23 a pound and a competitor comes in and says they can sell it
           for, I don't know, say 8 or whatever, yeah, that creates trust issues within
           accounts. . . . [A]nd then next thing you know your water treatment sales are
           going out to bid or they’re being questioned as well.”

ECF No. 818, Bly Testimony 10-19-2017 A.M. Tr. at 8-A-55:17–21, 8-A-66:13–18, 8-A-66:19–

8-A-67:4, 8-A-67:15–18, 8-A-69:3–21. See also Declaration of LaMarr Barnes in Support of

Plaintiffs’ Memorandum of Law in Support of Motion for Permanent Injunctive Relief and an

Enhanced Royalty on Novozymes’s Willful Post-Judgment Sales ¶¶ 1–5.

       Aside from lost sales, U.S. Water will suffer other irreparable harm. A patent holder’s

recognition as a leading innovator “is a tangible benefit afforded by a patent,” and damage to this

reputation caused by infringement is irreparable. Muniauction, Inc. v. Thomson Corp., 502 F.

Supp. 2d 477, 483 (W.D. Pa. 2007), rev’d in part, vacated in part on other grounds, 532 F.3d

1318 (Fed. Cir. 2008); see also Apple Inc. v. Samsung Elecs. Co., 809 F.3d 633, 648 (Fed. Cir.

2015) (Reyna J., concurring), cert. denied, 136 S. Ct. 2522 (2016) (“Apple’s reputation as an

innovator, and the importance of the patents-in-suit to that reputation—establishes that Apple

will likely suffer irreparable harm to its reputation.”). This reputational harm can be enough to

support an irreparable harm finding, even in the absence of evidence of lost sales. Douglas

Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1344 (Fed. Cir. 2013). U.S. Water’s

innovation is a key business component, and, as described above, Novozymes continues to

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undermine U.S. Water’s reputation as the innovator of this technology not only expressly, as in

the November 7 statement to the press, but in continuing to sell a product specifically and solely

for use in carrying out U.S. Water’s patent method. Umberger Decl. Ex. 1; see also Plaintiffs’

Trial Exhibit (hereinafter “PTX”) 64 (Novozymes presentation stating “Goal: replace Phytout”);

ECF No. 824, Kohl Testimony 10-16-2017 P.M. Tr. at 5-P-75:3–6 (“Q. Have you ever seen a

shred of evidence that Phytaflow has been sold for anything other than reducing deposits in fuel

ethanol plants? A. No.”); PTX 586 (Phytaflow Product Sheet) (“Phytaflow is a phytase applied

in fermentation that directly reduces backend fouling to ensure smoother plant operations.”).

        In Fresenius Medical Care Holdings, Inc. v. Baxter International, Inc., the court

elaborated on the irreparable harm caused by damage to reputation:

        Allowing Fresenius to continue to infringe would irreparably harm Baxter’s
        reputation and goodwill as an innovator, threaten Baxter’s extensive investments
        in research and development, and potentially encourage other companies to
        infringe Baxter’s intellectual property. . . . [Baxter’s R&D] investment will be
        largely for naught, and Baxter’s reputation as an innovator and the associated
        goodwill will be tarnished, if Fresenius, Baxter’s arch-rival in the renal field, is
        allowed to market and sell a product that Baxter, and not Fresenius, invented.

No. C 03-1431 SBA, 2008 WL 928496, at *12–13 (N.D. Cal. Apr. 4, 2008), aff’d in part, rev’d

in part on other grounds, 582 F. 3d 1228 (Fed. Cir. 2009); see also Douglas Dynamics, 717 F.3d

at 1344–45 (patent-holder’s “reputation will certainly be damaged if customers found the same

‘innovations’ appearing in competitors” products); Black & Decker Inc. v. Robert Bosch Tool

Corp., No. 04-C-7955, 2006 WL 3446144, at *4 (N.D. Ill. Nov. 29, 2006) (reputation as an

innovator harmed by continued sale of infringing goods). Here, not only is Novozymes’s

ongoing infringement eroding U.S. Water’s reputation as the innovator of this technology,

Novozymes continues to claim that Novozymes is the innovator of this technology, despite the

jury’s sound rejection of this claim. And immediately following, Novozymes advertises to the

industry that the jury’s verdict has no effect on its ability to sell its product for


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use in practicing U.S. Water’s patented method. The damage Novozymes continues to inflict on

U.S. Water cannot be remedied by money; an injunction is warranted.

        In addition, U.S. Water’s unwillingness to license the ’137 and ’399 patents to

Novozymes supports a finding of irreparable harm. A patent holder’s refusal to license the

patents-in-suit indicates that a reasonable royalty would be insufficient to compensate for an

infringement. Acumed, 551 F.3d at 1328. This is so, in part, because a refusal to license allows

a patent-holder to maintain market exclusivity—an important “intangible asset that is part of a

company’s reputation.” Douglas Dynamics, 717 F.3d at 1344–45. A license to a major

competitor would jeopardize U.S. Water’s phytase sales network and destabilize its entire

business. Thus, an erosion of U.S. Water’s intangible right to exclude would create significant

tangible and irreparable harm.

        Mr. Bly also testified that U.S. Water has not licensed the patents in suit and has no

interest in licensing the patents in suit:

        Q: “Does U.S. Water -- did U.S. Water as of 2013 have a policy with respect to
        licensing pHytOUT?”

        A: “No. I mean, we wouldn’t have licensed pHytOUT.”

        ...
        Q: “Did you license the fouling patents that -- any of the ’244, the ’137,
        the ’399?”

        A: “No.”

        Q: “No licensing?”

        A: “No licenses.”

        Q: “And did you have reasons?”

        A: “Yeah. Because in order for somebody -- for us to license somebody, they
        would have to -- it would have to pay us more than not only the lost sales that
        we’d have of the pHytOUT product but the synergies associated with the rest of
        our product line.”

        Q: “And how about to Novozymes?”

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       A: “No, we wouldn’t have done that.”

ECF No. 813, Bly Testimony 10-19-2017 A.M. Tr. at 8-A-71:18–8-A-72:17.

       Trial made clear that, as a result of Novozymes’s infringement, U.S. Water has suffered

lost sales, lost market share, and damage to its reputation and goodwill. U.S. Water has therefore

established that Novozymes’s infringement has resulted in irreparable harm that continues to this

day and undoubtedly will continue unless Novozymes is enjoined.

       C.      Monetary Relief Is Inadequate to Compensate for the Continuing Harm of
               Infringement.

       The second eBay factor looks at whether monetary relief is adequate to compensate for

the infringement. When the infringer, like Novozymes, is a direct market competitor, courts

regularly recognize that monetary damages are insufficient to adequately compensate for the lost

market share, lost business opportunities, harm to customer goodwill, and reputational damage.

See, e.g., i4i, 598 F.3d at 862; Smith & Nephew, Inc. v. Arthrex, Inc., No. 2:07-cv-335-TJW-CE,

2010 WL 2522428, at *3 (E.D. Tex. June 18, 2010). These harms “frequently defy attempts at

valuation, particularly when the infringing acts significantly change the relevant market.” i4i,

598 F.3d at 862. As discussed above, U.S. Water has sustained each of these injuries.

       Furthermore, U.S. Water’s loss of the “statutory right to exclude” others from practicing

the patented inventions cannot be “equated by an award of cash” and supports the entry of an

injunction. Novozymes A/S v. Genencor Int’l, Inc., 474 F. Supp. 2d. 592, 613 (D. Del. 2007)

(“These are head-to-head competitors, and [patentee] Novozymes has a right, granted by

Congress, not to assist its rival with the use of proprietary technology.”) (granting permanent

injunction post-verdict). If Novozymes is permitted to market the infringing products, U.S.

Water’s right to exclude would be lost to its major competitor for this business. Other potential

infringers would further be emboldened by Novozymes’s continued right to practice the



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invention—which Novozymes is touting in statements to industry press—despite being

adjudicated an infringer.

       D.      The Balance of the Hardships Favors U.S. Water.

       The balance of hardships in this case also favors an injunction. “The ‘balance of

hardships’ assesses the relative effect of granting or denying an injunction on the parties” and

considers such factors as “the parties’ size, products, and revenue sources.” i4i, 598 F.3d at 862.

       In this case, Novozymes is a global biotechnology company with a diverse portfolio of

products and revenue sources. Novozymes would not be driven out of business if they were

prevented from practicing the invention. Requiring Novozymes to comply with an injunction

should have little collateral effect on its larger business as a whole. Further, Novozymes could

continue to serve this market segment with its other products or attempt to develop new non-

infringing products.

       The burden placed on U.S. Water if Novozymes is permitted to continue its infringing

activities, on the other hand, is substantial. In the absence of an injunction, U.S. Water will

continue to lose sales, customers, market share, and sustain injury to its reputation and goodwill.

On balance, the hardships clearly favor entry of a permanent injunction.

       E.      The Public Interest is Best Served by a Permanent Injunction.

       Finally, the public interest will be served, and not harmed, by entry of a permanent

injunction. The public interest in protecting patents outweighs even the potential for any claimed

harm that could occur by enjoining Novozymes’s sale of phytase products to fuel ethanol plants

for deposit control. See i4i, 598 F.3d at 863 (“the public’s general interest in upholding patent

rights favor injunctive relief”); Sanofi-Synthelabo v. Apotex, Inc., 470 F.3d 1368, 1383 (Fed. Cir.

2006) (recognizing “the importance of the patent system in encouraging innovation” and that this

encouragement is the “fundamental purpose” of the system). In Apple, the Federal Circuit

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emphasized that “[g]iven the important public interest in protecting patent rights . . . this factor

strongly favors an injunction.” 809 F.3d at 647. Allowing infringers like Novozymes to utilize

patented inventions developed through the investment of others discourages the investment-

based risk that the patent system seeks to foster. Failing to enter an injunction would therefore

undermine the very essence of the system and disserve the public interest.

       On the other hand, there is no public interest served by allowing the infringement to

continue. U.S. Water has the capability and sales force to meet the entire market demand for

Novozymes’s phytase product sales. See ECF No. 818, Bly Testimony 10-19-2017 A.M. Tr. at

8-A-66:10–71:1. The tailoring of a permanent injunction “substantially mitigates the negative

effects on the public, practically and economically” and “minimizes disruptions to the market

and the public.” i4i, 598 F.3d at 863. The public interest would not therefore be harmed by the

removal of Novozymes’s phytase products from the market, and the public interest in a strong

patent system would be served by entry of an injunction. See WBIP, LLC v. Kohler Co., 829

F.3d 1317, 1343 (Fed. Cir. 2016) (vacating district court’s denial of post-trial injunction; only

public interest factor was that of upholding patent rights).

       F.      The Injunction Should Be Put in Place Immediately.

       U.S. Water expects that Novozymes will argue that any injunction should be stayed

pending appeal pursuant to Federal Rule of Civil Procedure 62(c). Whether an injunction should

be stayed pending an appeal involves four considerations: (1) whether the stay applicant has

made a strong showing that he is likely to succeed on the merits; (2) whether the party seeking

the stay will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties; and (4) the public interest. Standard Haven Prods., Inc. v.

Gencor Indus., Inc., 897 F.2d 511, 512 (Fed. Cir. 1990). A court does not give equal weight to



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each factor, but instead uses a flexible balancing approach. Id. at 512–14. None of these factors

supports entry of a stay.

         First, Novozymes is unlikely to succeed on appeal. A jury decision in the plaintiff’s

favor on “all infringement and invalidity issues” undermines any argument that an appellant is

likely to succeed. Retractable Techs., Inc. v. Occupational & Med. Innovations, Ltd., No. 6:08

CV 120, 2010 WL 3199624, at *6 (E.D. Tex. Aug. 11, 2010). This case was fairly decided by a

jury and its findings were fully supported by evidence, as will be addressed in U.S. Water’s

responses to Novozymes’s Rule 50(b) motions. But in sum:

                 Novozymes put forth no defense to direct infringement by its Phytaflow
                  customers;

                 Evidence of Novozymes’s inducement of infringement and contributory2
                  infringement was overwhelming, well beyond sufficient for a jury finding in U.S.
                  Water’s favor;

                 The Federal Circuit has already held that a reasonable jury could find, as this jury
                  did, that Novozymes’s main prior art reference, the Veit patent, does not
                  anticipate the asserted claims; and

                 Novozymes’s obviousness defense—based in large part on this same prior art—
                  fares no better, particularly in light of prodigious objective evidence of non-
                  obviousness.

         It should also be noted that this Court issued a claim construction that Novozymes will be

unable to challenge. In its July 29, 2015, Opinion & Order (ECF No. 561), the Court granted

Novozymes’s motion for summary judgment of invalidity, granted U.S. Water’s motion for

summary judgment of Novozymes’s inequitable conduct claim, and issued two key claim

constructions.3 This decision was appealed to the Court of Appeals for the Federal Circuit.


2
  Even if the Court believes that there is an outstanding legal question as to the applicability of the contributory
infringement standard to this case, U.S. Water need only succeed on one of its theories of indirect infringement to
justify an injunction.
3
  The Court construed two claim phrases, holding (1) that claims reciting a pH of 4.5 or higher in the beer column
require that the pH in the beer column is at 4.5 or higher “at some point” during the production of ethanol; and (2)

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Novozymes did not appeal the aspect of the Court’s Order construing these claims. Thus,

Novozymes has waived any challenge to these constructions. See ECF No. 607; ECF No. 681.

And as to the Court’s later claim constructions detailed in its post-remand Order (ECF No. 681),

the mere fact that the appeals court will make a “de novo review of [the trial court’s] claim

construction[s]” does not “merit a stay.” Eaton Corp. v. Parker-Hannifin Corp., 292 F. Supp. 2d

555, 582 (D. Del. 2003).

         Second, any argument that Novozymes would be harmed if it were not able to continue to

sell infringing products during the appeal should not be countenanced. This argument has been

repeatedly rejected as “offend[ing] the very rights associated with obtaining a patent.”

ArthroCare Corp. v. Smith & Nephew, Inc., 315 F. Supp. 2d 615, 621 (D. Del. 2004), vacated in

part on other grounds, 406 F.3d 1365 (Fed. Cir. 2005); see also Windsurfing Int’l, Inc. v. AMF,

Inc., 782 F.2d 995, 1003 (Fed. Cir. 1986) (“[o]ne who elects to build a business on a product

found to infringe cannot be heard to complain if an injunction against continuing infringement

destroys the business so elected”).

         Furthermore, the fact that the infringing products make up only a small part of a

defendant’s business weighs against a finding of irreparable harm. ION, Inc. v. Sercel, Inc., No.

5:06-CV-236, 2011WL 13196498, at *3 (E.D. Tex. Feb. 16, 2011). This case only involves a

small portion of Novozymes’s vast portfolio of products and an injunction would have little

effect on the global company. The argument that Novozymes may have difficulty in regaining

customers in the event the jury’s verdict is overturned is insufficient on its own to support entry

of a stay. Id. at *8.




that claims reciting “substantially without acid” require that deposit reduction is accomplished substantially by
phytase and not by the addition of an acid compound. ECF No. 561 at 11–16.

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       Indeed, an immediate injunction is necessary so that U.S. Water may begin regaining its

rightful customers and prevent further decline of its price and sales. Without an injunction U.S.

Water will continue to sustain the irreparable injuries discussed above, including harm to its

market share, reputation, goodwill and its statutory right to exclude. Similarly, as detailed

above, no public interest would be adversely affected by an injunction since U.S. Water can meet

the demand for the patented inventions with its own products and the injunction is narrowly

tailored to prevent market disruption.

II.    MOTION FOR ONGOING ROYALTY ON POST-JUDGMENT SALES.

       U.S. Water requests that the Court now set a post-judgment royalty rate of $10.00 per

pound that will apply to Novozymes’s post-judgment sales of phytase products that are used to

infringe U.S. Water’s patents. And, to the extent the Court denies U.S. Water’s request for a

permanent injunction or stays the entry of such an injunction until after conclusion of the appeal,

this royalty rate should be applied to all post-judgment sales for the life of the patents in suit.

       The royalty rate awarded by the jury is the appropriate starting point for a post-judgment

royalty rate. See infra Part II.A–B. The jury found that a hypothetical negotiation on the date of

Novozymes’s first infringement would have resulted in an agreement between U.S. Water and

Novozymes for a royalty rate of $5.05 per pound of Phytaflow sold. The evidence upon which

the jury’s finding is based is equally pertinent in assessing the current value to Novozymes of

continued use of U.S. Water’s patents. That evidence demonstrates, among other things, that

U.S. Water’s patents remain a “must have” technology for Novozymes and that Novozymes’s

sales of the infringing products continue to grow. See ECF No. 240-26 at 3. Moreover,

Novozymes’s failure to present any evidence at trial of currently available, acceptable,

noninfringing alternatives, despite having had nearly four years since the filing of this lawsuit to

attempt to design around the U.S. Water patents, is just as pertinent to the Court’s going-forward

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royalty rate as it was to the jury’s conclusions. Accordingly, the jury’s $5.05 royalty rate is the

minimum rate that should be applied to Novozymes’s infringing conduct.

       Any continuing infringement of U.S. Water’s patents by Novozymes after a jury found in

U.S. Water’s favor on infringement and rejected Novozymes’s invalidity defense is, by

definition, willful. See infra Part II.A. Under 35 U.S.C. § 284, the Court has the discretion to

enhance damages for willful infringement, and courts routinely do precisely that when awarding

ongoing royalties. See infra Part II.B. Accordingly, U.S. Water requests that the Court increase

the ongoing royalty rate from the base of $5.05 to $10.00.

       A.      An Ongoing Royalty Is an Equitable Remedy that Typically Results in a
               Higher Rate than Determined by the Jury in Light of Infringer’s Now
               Indisputably Willful Conduct.

       The Federal Circuit treats an ongoing royalty as an equitable remedy under 35 U.S.C.

§ 283, not a damages award under 35 U.S.C. § 284. See Paice LLC v. Toyota Motor Corp., 504

F.3d 1293, 1313–14 (Fed. Cir. 2007). Unlike Section 284, Section 283 contains no language

regarding “damages adequate to compensate for the infringement,” and therefore the focus is not

limited to arriving at merely a “reasonable” royalty. Any future infringement after a defendant is

adjudged an infringer should thus be considered willful and subject to “damages up to three

times the amount found or assessed.” 35 U.S.C. § 284; see also In re Seagate Tech., LLC, 497

F.3d 1360, 1368 (Fed. Cir. 2007) (an award of enhanced damages proper after “a showing of

willful infringement”). As discussed below, royalty rates for post-judgment infringement should

therefore be higher than those for prejudgment infringement, i.e., in a range of $5.05 to $15.15

per pound of phytase-containing products sold by Novozymes to fuel ethanol plants for deposit

control.

       In Amado v. Microsoft Corp., the Federal Circuit indicated that the district court should

set a post-judgment ongoing royalty rate where a permanent injunction has been entered, but the

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injunction has been stayed pending appeal. 517 F.3d 1353, 1362 (Fed. Cir. 2008).4 In the

absence of an injunction or during a stay, the patentee is entitled to receive ongoing royalties that

adequately compensate it for the loss of its lawful right to exclude others from profiting from its

invention. See, e.g., Paice LLC v. Toyota Motor Corp., 609 F. Supp. 2d 620, 630 (E.D. Tex.

2009). Simply put, the law “must ensure that an adjudged infringer who voluntarily chooses to

continue his infringing behavior must adequately compensate the patent holder for using the

patent holder’s property.” Id. “Anything less would be manifestly unjust and violate the spirit,

if not the letter, of the U.S. Constitution and the Patent Act.” Id.

         In setting the post-judgment ongoing royalty rate, the royalty rate found by the jury is

“significant as a starting point” from which to consider whether changes in the parties’

bargaining positions merit a different ongoing royalty rate. See Fresenius USA, Inc. v. Baxter

Int’l, Inc., No. C 03–1431 PJH, 2012 WL 761712, at *11 (N.D. Cal. Mar. 8, 2012) (citing Paice,

504 F.3d at 1315), vacated on other grounds, 712 F.3d 1330 (Fed. Cir. 2013). Courts often

conduct a “modified” Georgia-Pacific analysis that takes into account the traditional Georgia-

Pacific factors, but also considers the new legal status quo between the parties: the defendant is

an adjudged infringer and any continuing infringement will be willful by definition. See, e.g.,

Paice, 609 F. Supp. 2d at 624–31. While adjudged infringers like Novozymes routinely request

a post-judgment ongoing royalty rate lower than the prejudgment rate found by the jury, courts

typically set the ongoing rate higher than the jury’s rate.5

4
  Because the issue of whether to award post-judgment ongoing royalties in lieu of a permanent injunction, or while
such an injunction is stayed, is equitable in nature, it may be determined by the district court and does not require a
trial by jury. Paice, 504 F.3d at 1315–16.
5
  See, e.g., Boston Sci. Corp. v. Cordis Corp., 838 F. Supp. 2d 259, 276 (D. Del. 2012) (“The court declines to allow
Cordis, an adjudicated willful infringer, to effectively owe less for its post-verdict infringement than the jury found
for its pre-verdict infringement under the circumstances,” and sets a 32% ongoing royalty when the jury’s verdict
was based on a 2.95% royalty rate), aff’d, 497 F. App’x 69 (Fed. Cir. 2013); Mondis Tech. Ltd. v. Chimei InnoLux
Corp., 822 F. Supp. 2d 639, 646 (E.D. Tex. 2011) (awarding an ongoing royalty rate higher than the jury’s because
the commercial success following the hypothetical negotiation date justified increasing the rate from 0.5% to 0.75%,

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         In other words, a higher ongoing royalty rate is justified in the usual case because “pre-

suit and post-judgment acts of infringement are distinct.” Paice, 504 F.3d at 1317 (Rader, J.,

concurring); see also Amado, 517 F.3d at 1361–62 (“There is a fundamental difference . . .

between a reasonable royalty for pre-verdict infringement and damages for post-verdict

infringement.”). Prior to the verdict, the defendant is merely an accused infringer, even if the

hypothetical negotiation upon which the award for past infringement is based expressly assumes

the patents-in-suit are valid and infringed. Once the jury has actually rendered its verdict and

found the patents valid and infringed, the parties’ legal relationship changes. The defendant is

now an adjudged infringer and any continued infringement will be even more egregious. Thus,

the plaintiff’s bargaining position is considerably strengthened in the hypothetical post-verdict

negotiation of an ongoing royalty rate because the plaintiff could bring another lawsuit in which

the defendant would be collaterally estopped from asserting any defenses and a finding of willful

infringement would be virtually guaranteed. “[T]he Court must consider the change in the legal

relationship between the parties to avoid incentivizing defendants to fight each patent

infringement case to the bitter end because without consideration of the changed legal status,

there is essentially no downside to losing.” Fractus, S.A. v. Samsung Elecs. Co., 876 F. Supp. 2d

802, 855 (E.D. Tex. 2012).

         B.       The Ongoing Royalty Rate Should Be Enhanced to $10.00 per Pound Based
                  on the Willful Nature of Novozymes’s Continued Infringement.

         After hearing extensive evidence from both U.S. Water and Novozymes, the jury decided

that a hypothetical negotiation occurring on the date of Novozymes’s first infringement would


and further enhancing it to 1.5%, since ongoing infringement would be willful), aff’d, 530 F. App’x 959 (Fed. Cir.
2013); Joyal Prods., Inc. v. Johnson Elec. N. Am., Inc., Civ. No. 04–5172, 2009 WL 512156, *13 (D.N.J. Feb. 27)
(26% post-verdict royalty rate representing net operating profit was reasonable, contrasted with 8% rate found by the
jury”), aff’d, 335 F. App’x 48 (Fed. Cir. 2009); Creative Internet Advert. v. Yahoo!, Inc., 674 F. Supp. 2d 847, 861
(E.D. Tex. 2009) (where jury awarded 20% royalty for the original infringement, ongoing royalty of 23% was
proper to account for the changed circumstances and infringer’s decision to continue infringing).

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have resulted in an agreement by Novozymes to pay U.S. Water a royalty of $5.05 per pound

sold of Phytaflow. Given Novozymes’s choice to continue its infringement, such infringement

is, by definition, willful. See Douglas Dynamics, 76 F. Supp. 3d at 821. And as noted, not only

is Novozymes continuing its infringing conduct, it is publicizing this fact to the industry.

Umberger Decl. Ex. 1. An enhanced rate of roughly twice the reasonable royalty is therefore

appropriate.

       U.S. Water’s requested royalty rate for continued willful infringement is appropriate. At

trial, U.S. Water presented evidence that a starting point for an appropriate royalty rate at the

time of the hypothetical negotiation was somewhere between $5 and $10. See ECF No. 836,

Bero Testimony 10-19-2017 P.M. Tr. at 8-P-41:11–15. This $5 to $10 per pound starting point

range was based on at least the following facts:

          Novozymes undercut U.S. Water’s prices by well over $5 per pound. Id. at 8-
           P-10:18–21 (“[A] very significant part of the [damages] analysis is the fact
           that Novozymes was undercutting the prices of the U.S. Water’s pHytOUT
           product.”).

          Novozymes’s bargain basement pricing was intended to “displace Phytout
           business” (see, e.g., PTX 579), and resulted in numerous plants switching to
           Novozymes’s product. ECF No. 836, Bero Testimony 10-19-2017 P.M. Tr. at
           8-P-19:17–22:17.

          At the time of the hypothetical negotiation, U.S. Water’s average price was
           $12.55 a pound. Id. at 8-P-17:2–4. But this $12.55 price was already reduced
           as the result of competition from Novozymes; prior to Novozymes’s market
           entry, U.S. Water charged over $15 per pound. Id. at 8-P-25:11–14.

          U.S. Water expected to receive a profit of over $10 per pound of pHytOUT
           sold, while Novozymes received a profit of over $6 per pound. Id. at 8-P-
           38:24–40:23.

          Novozymes needed the patented anti-fouling technology to sell its “Cadillac”
           product, Avantec®, which was significantly more valuable to Novozymes and
           could not be used without a stand-alone phytase. ECF No. 816, Rogers
           Testimony 10-13-2017 P.M. Tr. at 4-P-24:11–25; PTX 138; PTX 591.

          The value to the customer and the financial benefits of using a phytase
           product to reduce fouling far exceed the cost of the phytase product even
           when priced at the higher U.S. Water price. ECF No. 836, Bero Testimony 10-
           19-2017 P.M. Tr. at 8-P-77:18–25. See also PTX 586; PTX 598.

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The jury agreed with U.S. Water’s range, placing damages at $5.05 per pound.

       Assessing the same $5.05 per pound rate applied by the jury, however, does not

appropriately recognize that Novozymes’s ongoing infringement is willful. See, e.g., Mondis

Tech. Ltd. v. Chimei InnoLux Corp., 822 F. Supp. 2d 639, 652–53 (E.D. Tex. 2011) (finding that

defendant’s post-verdict infringement would be willful and, based on this willfulness, imposing

an enhanced ongoing royalty rate of double the jury’s reasonable royalty rate). As discussed

above, the Court, in its discretion, may award an ongoing royalty of up to three times the royalty

rate found by the jury. See In re Seagate Tech., 497 F.3d at 1368. Accordingly, and although

case law supports the fact that the Court may award a $15.15 per pound ongoing royalty rate,

U.S. Water requests that the Court increase the ongoing royalty rate from the base of $5.05 to

$10.00, based on the willful nature of Novozymes’s continuing infringement. See, e.g., Affinity

Labs of Tex., LLC v. BMW N. Am., LLC, 783 F. Supp. 2d 891, 901–05 (E.D. Tex. 2011)

(enhancing ongoing royalty based on willful nature of continued infringement); 35 U.S.C. § 284

(allowing court to enhance damages for willful infringement).

       C.       The Court Should Order Novozymes to Provide an Accounting and Pay
                Ongoing Royalties Quarterly During Any Period in Which It Is Not
                Enjoined.

       The Court has discretion to determine the mechanics and timing of payment of any post-

judgment ongoing royalties. U.S. Water requests that the Court order Novozymes to:

               pay all ongoing royalties due to U.S. Water quarterly, with payments made in

                U.S. dollars and according to U.S. Water’s payment instructions within fourteen

                (14) days of the end of each quarter; with the first payment accounting for any

                unpaid royalties from the date of entry of the judgment forward; and




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              provide a statement to U.S. Water, under the penalty of perjury, concurrent with

               each quarterly payment, that identifies the products on which a royalty is being

               paid, the number of pounds sold, and the calculation of the total royalty amount.

The Court also should order that U.S. Water has the right to audit Novozymes’s sales

information on a periodic basis.

       This does not mean that Novozymes would be left with no recourse if the circumstances

were to change—i.e., if Novozymes were to pursue and successfully implement a noninfringing

alternative. Novozymes could then seek relief from or modification of the ongoing royalty under

Fed. R. Civ. P. 60(b)(5). Moreover, as the district court noted in Paice, Novozymes “continues

to have the option of ceasing its infringing use of the [phytase] technology or raising prices to

pass along the royalty to its consumers.” 609 F. Supp. 2d at 631. Absent changed

circumstances, however, equity requires that all of Novozymes’s phytase-containing products

sold to fuel ethanol plants be covered by the ongoing royalty if the requested injunction is not

granted or is stayed.

                                         CONCLUSION

       For the reasons set forth above, U.S. Water requests that the Court grant its motion for

permanent injunctive relief and for an enhanced royalty on Novozymes’s post-judgment sales.




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DATED: November 21, 2017               s/ Michelle M. Umberger
                                       John S. Skilton
                                       JSkilton@perkinscoie.com
                                       Michelle M. Umberger
                                       MUmberger@perkinscoie.com
                                       Christopher G. Hanewicz
                                       CHanewicz@perkinscoie.com
                                       Autumn N. Nero
                                       ANero@perkinscoie.com
                                       Brandon M. Lewis
                                       BLewis@perkinscoie.com
                                       Truscenialyn Brooks
                                       TBrooks@perkinscoie.com
                                       Danielle S. Grant-Keane
                                       DGrantKeane@perkinscoie.com
                                       Perkins Coie LLP
                                       One East Main Street, Suite 201
                                       Madison, WI 53703-5118
                                       Telephone: 608.663.7460
                                       Facsimile: 608.663.7499

                                       Colin G. Sandercock
                                       CSandercock@perkinscoie.com
                                       Perkins Coie LLP
                                       700 Thirteenth Street N.W.
                                       Washington, DC 20005
                                       Telephone: 202.654.6200
                                       Facsimile: 202.654.6211

                                       Attorneys for Plaintiffs
                                       U.S. Water Services, Inc. and Roy Johnson


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